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FORM 1. Notice of Appeal from a United States Federal Court (District Court, Court of Appeals for      Form 1
Veterans Claims, Court of Federal Claims (non-vaccine appeals), and Court of International Trade)   March 2023




                                          UNITED STATES

                           COURT OF INTERNATIONAL TRADE



                                       NOTICE OF APPEAL
      Notice is hereby given that the appellant(s) listed below hereby appeal(s) the
below-noted case to the United States Court of Appeals for the Federal Circuit.
Case number being appealed:               22-0348
                                          ________________________________________________
Case title being appealed:                Oman Fasteners, LLC v. _______________________
                                          ______________________ United States

Date of final judgment or order being appealed:                    02/15/2023
                                                                   ______________________________
List all Appellants (List each party filing this appeal. Do not use “et al.” or other
abbreviations. Attach continuation pages if necessary.)

Mid Continent Steel & Wire, Inc.




Date: 03/23/2023                                  Signature: /s/ Adam H. Gordon

                                                  Name: Adam H. Gordon

                                                  Address: The Bristol Group PLLC

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